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                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-12958
                              ERRATA SHEET
                          ____________________

       THE STATE OF GEORGIA,
                                                     Plaintiﬀ-Appellee,
       versus
       MARK RANDALL MEADOWS,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                    for the Northern District of Georgia
                     D.C. Docket No. 1:23-cv-03621-SCJ
                          ____________________
    Case 1:23-cv-03621-SCJ Document 92-3 Filed 12/18/23 Page 2 of 2
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       2                    Opinion of the Court               23-12958

             The opinion has been changed as follows:

              On the page 12 (the last page of Judge Rosenbaum’s concur-
       ring opinion), “1422(a)(1)” has been changed to “1442(a)(1).”
